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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    VICTOR M. CHAVEZ, Bar #113752
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    LUIS COAHUILAS-PUNTOS
7
                                   IN THE UNITED STATES DISTRICT COURT
8
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,             )               No. 1:11-cr-0016 AWI-6
11                                         )
                       Plaintiff,          )               STIPULATION TO CONTINUE STATUS
12                                         )               CONFERENCE HEARING; ORDER
           v.                              )
13                                         )               DATE:         February 21, 2012
     LUIS COAHUILAS-PUNTOS,                )               TIME:         10:00 a.m.
14                                         )               JUDGE:        Anthony W. Ishii
                       Defendant.          )
15   _____________________________________ )
16
            IT IS HEREBY STIPULATED by and between the parties hereto, through their respective
17
     counsel of record that the status conference hearing in the above captioned matter scheduled for February
18
     6, 2012 at 10:00 a.m., may be continued to February 21, 2012 at 10:00 a.m.
19
            Counsel for Mr. Coahuilas-Puntos seeks this stipulation because he is new to the case and needs
20
     time to review discovery and meet with his client.
21
            The parties agree that the delay resulting from the continuance shall be excluded in the interests of
22
     justice herein and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and
23
     3161(h)(7)(B)(i) and (iv) because the ends of justice served in granting such continuance outweigh the
24
     best interests of the public and the defendant in a speedy trial.
25
     ///
26
     ///
27
     ///
28
            Case 1:11-cr-00016-DAD-BAM Document 75 Filed 02/03/12 Page 2 of 2


1                                              BENJAMIN B. WAGNER
                                               United States Attorney
2
3    DATED: February 2, 2012             By:   /s/ Henry Carbajal
                                               HENRY CARBAJAL
4                                              Assistant United States Attorney
                                               Counsel for Plaintiff
5
6
7                                              DANIEL J. BRODERICK
                                               Federal Public Defender
8
9    DATED: February 2, 2012             By:   /s/ Victor M. Chavez
                                               VICTOR M. CHAVEZ
10                                             Assistant Federal Defender
                                               Attorney for Defendant
11
12
13
14
15                                         ORDER
16
17   IT IS SO ORDERED.
18
     Dated:      February 2, 2012
19   0m8i78                                       CHIEF UNITED STATES DISTRICT JUDGE
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     Coahuilas-Puntos Stipulation and
     Order
